       Case 22-31412-sgj11         Doc 8    Filed 08/03/22 Entered 08/03/22 20:32:48              Desc Main
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
GMS Medical Company, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Cyrus Gates                                                 100                     Managing member
 1100 Rio Verde Drive, Desoto, TX 75115
